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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN DOE
Plaintiff
v. : CIVIL ACTION NO: 18-cv-2044

SAINT JOSEPH'S UNIVERSITY
And

JANE ROE
Defendants

 

PLAINTIFF’S BREIF IN OPPOSITION TO THE MOTION FOR SUMMARY
JUDGEMENT OF DEFENDANT SAINT JOSEPH’S UNIVERSITY

 

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B. Breach of Contract

1. SJU breached its contractual promise to comply with Title IX by subjecting
Doe to a gender-biased, fimdamentally unfair disciplinary process

2. SIU’s failure to provide Doe with adequate notice of the charges against him
was fundamentally unfair

3. SJU’s failure to give Doe an opportunity to see or know about evidence and
witnesses against him was fundamentally unfair

4. SJU breached its contract in failing to apply and follow the definition of
“sexual assault” set forth in its SMP

5. SJU failed to conduct a fundamentally fair investigation led by an
trained investigator

6. SJU interpreted and applies the provisions of its SMP appeal process in a
fundamentally unfair way

7. SJU failed to appropriately accommodate Doe’s know learning difference

C. UTPCPL The F acts Support the PlaintifF s Claim for Violation of the
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D. Defamation Plaintiff’s Complaint and the deposition testimony of
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